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    UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION

MONTANA MEDICAL ASSOCIATION, ET. AL.,       CV-21-108-M-DWM

                  PLAINTIFFS,
                                            DEFENDANTS’ BRIEF IN
AND
                                            SUPPORT OF MOTION
                                            FOR CLARIFICATION OF
MONTANA NURSES ASSOCIATION,
                                            PRELIMINARY
                                            INJUNCTION
           PLAINTIFF-INTERVENORS,

      V.

AUSTIN KNUDSEN, ET AL.,

           DEFENDANTS.
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                                    INTRODUCTION

       Defendants respectfully request that the Court clarify its March 18,

2022, Order, Doc. 53, granting in part and denying in part Plaintiffs’ mo-

tion for preliminary injunction. Defendants seek clarification regarding

COVID-19 “booster doses,” the CMS Omnibus Covid-19 Health Care Staff

Vaccination Interim Final Rule, 86 Fed. Reg. 61,568 (“CMS Rule”), and

enforcement of MCA § 49-2-312. As discussed below, Defendants believe

enforcement of MCA § 49-2-312 against health care facilities requiring

employees to receive a COVID-19 booster dose is not prohibited by this

Court’s Order because the CMS Rule only requires staff to be “fully vac-

cinated,” which is defined as “2 weeks or more since they completed a

primary vaccination series for COVID-19.” 86. Fed. Reg. at 61571. De-

fendants, however, in an abundance of caution and with due respect for

the Court’s March 18 Order, seek clarification prior to taking any further

action.

                                      DISCUSSION

       On February 16, 2022, Plaintiffs and Plaintiffs-Intervenors filed a

joint motion for preliminary injunction alleging that MCA § 49-2-312 and

§ 49-2-313 were (1) preempted by the CMS Rule and (2) unconstitutional



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under the Equal Protection Clause of the Fourteenth Amendment. See

Doc. 42 at 2; Doc. 43 at 10–11. On March 18, 2022, this Court granted

the motion in part and denied it in part. Doc. 53. The Court granted the

motion “in that enforcement of § 49-2-312 as it relates to the COVID-19

vaccine is enjoined from enforcement against all Montana health care fa-

cilities and individual practitioners and clinics subject to the Interim Fi-

nal Rule for so long as the Interim Final Rule remains in effect.” Doc. 53

at 24. The Court denied the motion in all other respect. Id.

       Defendants seek clarification from this Court because they have

been made aware that at least one healthcare provider in the State of

Montana is presently requiring employees to receive COVID-19 booster

doses by May 1, 2022 as a condition of employment. See Benefis Memo

at 1. MCA § 49-2-312(1)(b) makes it unlawful for an employer “to refuse

employment to a person, to bar a person from employment, or to discrim-

inate against a person in compensation or in a term, condition, or privi-

lege of employment based on the person's vaccination status.” Vaccina-

tion status is defined by § 49-2-312(5)(b) as “an indication of whether a

person has received one or more doses of a vaccine.” Requiring booster

doses, thus, plainly violates MCA § 49-2-312. On March 18, 2022, this



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Court issued an order granting in part and denying in part Plaintiffs’

motion for preliminary injunction. Doc. 53. The only question is whether

Defendants are enjoined from enforcing MCA § 49-2-312 under these cir-

cumstances by the Court’s March 18 Order. Defendants believe they are

not.

       This Court found that MCA § 49-2-312 was preempted by the CMS

Rule, which “requires most Medicare- and Medicaid-certified providers

and suppliers to ensure that their staff are fully vaccinated for COVID-

19.” Doc. 53 at 5 (quoting 86 Fed. Reg. at 61,568). The Court concluded

that Plaintiffs were likely to succeed on the merits of their claim that

MCA § 49-2-312 was preempted by the CMS Rule because it would be

impossible for private parties to comply with both Montana law and fed-

eral law. See Doc. 53 at 14–15. Defendants, therefore, believe this

Court’s injunction only bars enforcement of MCA § 49-2-312 so far as it

is preempted by the CMS Rule.

       The CMS Rule requires participating health care facilities to “de-

velop and implement policies and procedures to ensure that all staff are

fully vaccinated for COVID-19.” 86 Fed. Reg. at 61616. The CMS Rule




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is clear throughout that “fully vaccinated” refers only to the primary

COVID-19 vaccine—not booster doses:

       For purposes of this section, staff are considered fully vac-
       cinated if it has been 2 weeks or more since they completed a
       primary vaccination series for COVID-19. The completion of a
       primary vaccination series for COVID-19 is defined here as
       the administration of a single-dose vaccine, or the administra-
       tion of all required doses of a multi-dose vaccine.

42 C.F.R. 482.42(g) (Hospitals); § 485.640(f) (Critical Access Hospitals),

§ 416.51(c) (Ambulatory Surgical Centers); accord 86 Fed. Reg. at 61563

(“Based on current CDC guidance, individuals are considered fully vac-

cinated for COVID-19 14 days after receipt of either a single-dose vaccine

(Janssen/Johnson & Johnson) or the second dose of a two-dose primary

vaccination series (Pfizer-BioNTech/Comirnaty or Moderna)”).1            The

CMS Rule also says “a booster dose of vaccine is administered when the

initial immune response to a primary vaccine series is likely to have


1 The Preamble to the CMS Rule explains this as well: “In consideration
of the different vaccines available for COVID-19, we require that provid-
ers and suppliers ensure that staff are fully vaccinated for COVID-19,
which, for purposes of these requirements, is defined as being 2 weeks or
more since completion of a primary vaccination series. This definition of
‘fully vaccinated’ is consistent with the CDC definition. Additionally, the
completion of a primary vaccination series for COVID-19 is defined in the
requirements as the administration of a single-dose vaccine, or the ad-
ministration of all required doses of a multi-dose vaccine.” 86 Fed. Reg.
at 61571.

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waned over time.” 86. Fed. Reg. at 61562. It, thus, expressly differenti-

ates between a “booster dose” and the primary COVID-19 vaccine that

satisfies the CMS Rule’s definition of “fully vaccinated.” See id. at 61562–

61563.

       This is all to say that the CMS Rule clearly does not require booster

doses for staff at covered health care facilities. As such, the CMS Rule

does not preempt MCA § 49-2-312 as it relates to any requirements that

“fully vaccinated” individuals receive a COVID-19 booster dose. Thus,

Defendants would not be in violation of the Court’s Order for enforcing

MCA § 49-2-312 against facilities subject to the CMS Rule that require

booster doses for staff. See Doc. 53 at 24.

       For the reasons set forth above, Defendants respectfully request

clarification of this Court’s March 18 Order.

       DATED this 11th day of April, 2022.

                                          Respectfully submitted.

                                          /s/ Christian Corrigan
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                          CERTIFICATE OF COMPLIANCE

       Pursuant to Rule Local Rule 7.1(d)(2), I certify that this brief is

printed with a proportionately spaced Century Schoolbook text typeface

of 14 points; is double-spaced except for footnotes and for quoted and in-

dented material; and the word count calculated by Microsoft Word for

Windows is 995 words, excluding tables of content and authority, certifi-

cate of service, certificate of compliance, and exhibit index.

                                          /s/  Christian Corrigan
                                          CHRISTIAN CORRIGAN



                             CERTIFICATE OF SERVICE

       I certify that on this date, an accurate copy of the foregoing docu-

ment was served electronically through the Court’s CM/ECF system on

registered counsel.

Dated: April 11, 2022                     /s/  Christian Corrigan
                                          CHRISTIAN CORRIGAN




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